                                                             May 15, 2024
VIA CM/ECF

Mr. David J. Smith
Clerk of Court
U.S. Court of Appeals for the Eleventh Circuit
56 Forsyth St., N.W.
Atlanta, Georgia 30303

       Re: Rule 28(j) Letter, Shen v. Simpson, No. 23-12737-X

Dear Mr. Smith:

       Plaintiffs–Appellants write to bring the Court’s attention to Frishberg v. University of
South Florida Board of Trustees, No. 8:24-cv-22-TPB-NHA, 2024 WL 1579797 (M.D. Fla. Apr.
11, 2024), which further illustrates why Plaintiff Multi-Choice Realty is suffering irreparable harm
from Florida law SB 264.

        SB 264 severely restricts the ability of people “domiciled” in China to purchase homes in
Florida. Multi-Choice seeks a preliminary injunction on the grounds that SB 264 violates the Fair
Housing Act (“FHA”) and is preempted by federal law. Its customer base includes (1) Chinese
people who live in China, are neither citizens nor lawful permanent residents of the United
States, and are indisputably “domiciled” in China, and (2) Chinese people who reside in the
United States on non-immigrant visas and are at substantial risk of being deemed “domiciled” in
China. A310; A155–57. The loss of these customers and business goodwill due to SB 264 are
irreparable harms. Pls. Br. 53–54; see also id. at 13–14 (these harms confer standing under the
FHA). A preliminary injunction preventing enforcement of SB 264 against any prospective
Multi-Choice customer—or, at a minimum, prospective customers who have contacted
Multi-Choice—is necessary to remedy these harms.

        Frishberg shows that Multi-Choice is also suffering irreparable harm because its monetary
damages are not recoverable under the FHA due to sovereign immunity. See 2024 WL 1579797,
at *3 (holding that the FHA does not contain an explicit waiver of sovereign immunity). Sovereign
immunity is likewise an obstacle to a damages remedy for Multi-Choice’s preemption claim. See
Odebrecht Const., Inc. v. Sec’y, Fla. Dep’t of Transp., 715 F.3d 1268, 1289 (11th Cir. 2013). As
this Court explained in Odebrecht, “In the context of preliminary injunctions, . . . the inability to
recover monetary damages because of sovereign immunity renders the harm suffered
irreparable.” Id.


                                                             Sincerely,

                                                             /s/ Ashley Gorski
                                                             Ashley Gorski
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                                      Counsel for Plaintiffs–Appellants
Enclosure: Frishberg

cc (via CM/ECF):
All appellate counsel of record




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                                                                         Court is not required to accept as true any legal
                    2024 WL 1579797                                      conclusions couched as factual allegations. See
      Only the Westlaw citation is currently available.                  Papasan v. Allain, 478 U.S. 265, 286 (1986).
        United States District Court, M.D. Florida,               Plaintiff Daniel A Frishberg, a student at the University of
                     Tampa Division.                              South Florida (“USF”), owns a cat which he alleges he uses
                                                                  as an emotional support animal. USF initially recognized the
            Daniel A. FRISHBERG, Plaintiff,                       cat as an emotional support animal and allowed Plaintiff to
                          v.                                      have the cat in his dorm building. USF's policies, however,
           UNIVERSITY OF SOUTH FLORIDA                            precluded Plaintiff from taking the cat out of his room. While
        BOARD OF TRUSTEES, et al., Defendants.                    Plaintiff's filings do not set forth a clear timeline of events,
                                                                  it appears that after Plaintiff allowed the cat outside of his
               Case No. 8:24-cv-22-TPB-NHA                        room and into common areas of the dorm, USF imposed
                              |                                   a requirement that Plaintiff pay a fee and take educational
                   Signed April 11, 2024                          courses on civility as a sanction for his violation of the
                                                                  rules. When Plaintiff failed to comply and failed to comply
Attorneys and Law Firms
                                                                  with a directive to remove the animal, Defendants terminated
Daniel A. Frishberg, Mountain View, CA, Pro Se.                   Plaintiff's lease for the room, changed the lock system so
                                                                  that Plaintiff no longer had access to the room, and removed
Sacha Dyson, Bush, Graziano, Rice & Platter, P.A., Tampa,         his personal belongings. Plaintiff alleges that there is no
FL, for Defendants.                                               comparable, adequate housing available for him.

                                                                  Plaintiff contends that Defendants’ refusal to accommodate
         ORDER GRANTING DEFENDANTS’                               his request to have his emotional support animal outside of
             MOTION TO DISMISS                                    his room and other actions – including their imposition of
                                                                  sanctions, termination of his rental agreement, and locking
TOM BARBER, UNITED STATES DISTRICT JUDGE                          him out of his room – constitute discrimination and retaliation
                                                                  in violation of the federal Fair Housing Act (“FHA”), as well
 *1 This matter is before the Court on Defendants University
                                                                  as breaches of Defendants’ duties under other statutes and
of South Florida Board of Trustees’ and HRSE-Capstone
                                                                  common law principles.
Tampa, LLC's motion to dismiss, filed on January 15, 2024.
(Doc. 16). The Court elected to treat Defendants’ response
                                                                  On November 28, 2023, Plaintiff filed suit in small claims
to Plaintiff Daniel A. Frishberg's motion for a temporary
                                                                  court in Hillsborough County making essentially the same
restraining order as a motion to dismiss and directed Plaintiff
                                                                  allegations presented in this case. On December 19, 2023,
to respond to the motion. (Docs. 18; 20). Plaintiff filed his
                                                                  Plaintiff filed an amended complaint in that case and a motion
response in opposition on February 6, 2024. (Docs. 24; 25).
                                                                  seeking essentially the same injunctive relief sought in the
After reviewing the motion, response, court file, and the
                                                                  instant motion. The defendants in that case moved to strike the
record, the Court finds as follows:
                                                                  complaint and motion, arguing that the amended complaint
                                                                  was improperly filed without leave of court and that Plaintiff's
                                                                  claims could not properly be brought in small claims court.
                       Background 1
                                                                  *2 That state court suit remains pending, but on January
1      The Court accepts as true the facts alleged in             3, 2024, Plaintiff brought this suit. 2 In his complaint, he
       Plaintiff's amended complaint for purposes of              alleges several claims for relief under the FHA, the Florida
       ruling on the pending motion to dismiss. See               Fair Housing Act (“FFHA”), the Americans with Disabilities
       Erickson v. Pardus, 551 U.S. 89, 94 (2007)                 Act (“ADA”), and breach of contract related to the housing
       (“[W]hen ruling on a defendant's motion to dismiss,        agreement.
       a judge must accept as true all of the factual
       allegations contained in the complaint.”). The



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        Plaintiff filed a motion to proceed in forma
                                                                       The Eleventh Amendment provides a state with immunity
        pauperis, which the Court granted. (Doc. 5).
                                                                       from suits by private individuals in federal court unless the
                                                                       state has consented to be sued, the state has waived its
                        Legal Standard                                 immunity, or Congress has abrogated the state's immunity.
                                                                       Doe v. Florida Gulf Coast Univ. Bd. of Trustees, No. 2:23-
Federal Rule of Civil Procedure 8(a) requires that a complaint         cv-245-SPEC-KCD, 2023 WL 5834865, at *2 (M.D. Fla.
contain “a short and plain statement of the claim showing the          Sept. 8, 2023). The USF Board, as the governing body of a
[plaintiff] is entitled to relief.” Fed. R. Civ. P. 8(a). While Rule   state university, is an “arm” of Florida and may be entitled
8(a) does not demand “detailed factual allegations,” it does           to Eleventh Amendment immunity. See University of South
require “more than labels and conclusions, and a formulaic             Fla. Bd. of Trustees v. CoMentis, Inc., 861 F.3d 1234, 1237
recitation of the elements of a cause of action will not do.”          (11th Cir. 2017) (citing Williams v. District Bd. of Trustees
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). In order         of Edison Cmty. Coll., Fla., 421 F.3d 1190, 1195 (11th Cir.
to survive a motion to dismiss, factual allegations must be            2005)); Souto v. Fla. Int'l Univ. Found., Inc., 446 F. Supp. 3d
sufficient “to state a claim to relief that is plausible on its        983, 990 (S.D. Fla. 2020) (collecting cases). Defendant HRSE
face.” Id. at 570.                                                     may be entitled to Eleventh Amendment immunity because
                                                                       its only role with respect to this matter is that it owns the
When deciding a Rule 12(b)(6) motion, review is generally              dorm building. See Shands Teaching Hosp. & Clinics, Inc. v.
limited to the four corners of the complaint. Rickman                  Beech St. Corp., 208 F.3d 1308, 1311 (11th Cir. 2000) (private
v. Precisionaire, Inc., 902 F. Supp. 232, 233 (M.D. Fla.               corporation that is neither controlled nor funded by state may
1995). Furthermore, when reviewing a complaint for facial              be protected by immunity when clearly acting as agent of
sufficiency, a court “must accept [a] [p]laintiff's well pleaded       state).
facts as true, and construe the [c]omplaint in the light most
favorable to the [p]laintiff.” Id. (citing Scheuer v. Rhodes, 416       *3 Florida has not consented to suit brought in federal court
U.S. 232, 236 (1974)). “[A] motion to dismiss should concern           under the FHA or FFHA. Neither the FHA nor the FFHA
only the complaint's legal sufficiency, and is not a procedure         contain an explicit waiver of sovereign immunity. See 42 §
for resolving factual questions or addressing the merits of the        U.S.C. 3613, et seq.; § 760.20, et seq., F.S.; Rattner v. 1809
case.” Am. Int'l Specialty Lines Ins. Co. v. Mosaic Fertilizer,        Brickell, LP, No. 1:21-cv-23426-KMM, 2022 WL 19331241,
LLC, 8:09-cv-1264-T-26TGW, 2009 WL 10671157, at *2                     at *7 (S.D. Fla. Apr. 18, 2022) (“Nor does the Fair Housing
(M.D. Fla. Oct. 9, 2009) (Lazzara, J.).                                Act, 42 U.S.C. §§ 3601-3631, contain a waiver of sovereign
                                                                       immunity.”). Moreover, as to the FHA, “the language of
As Plaintiff in this case proceeds pro se, the Court more              the Fair Housing Act does not make ‘unmistakably clear’
liberally construes the pleadings. Alba v. Montford, 517 F.3d          that Congress intended to abrogate. It contains no provision
1249, 1252 (11th Cir. 2018). However, a pro se plaintiff must          evidencing such intent.” McCardell v. United States HUD,
still conform to procedural rules, and the Court does not have         794 F.3d 510, 522 (5th Cir. 2015) (“We hold that Congress
“license to act as de facto counsel” on behalf of a pro se             did not make clear an intent to abrogate States’ Eleventh
plaintiff. United States v. Padgett, 917 F.3d 1312, 1317 (11th         Amendment sovereign immunity from suits brought under the
Cir. 2019).                                                            Fair Housing Act....”).

                                                                       Plaintiff argues that Defendants’ receipt of federal funds
                                                                       constitutes a waiver of sovereign immunity under the
                            Analysis
                                                                       Rehabilitation Act. But Plaintiff's housing discrimination or
Counts 1, 2, 4, 6, 7, 8, 9, 10, and 13                                 retaliation claims in these counts are not brought under the
In Counts 1, 2, 4, and 6, Plaintiff asserts various violations of      Rehabilitation Act. And just because the state may waive
the FHA by Defendants. In Counts 7, 8, 9, and 10, he asserts           immunity for one type of claim (such as the Rehabilitation
various violations of the FFHA. In Count 13, Plaintiff asserts         Act) does not mean that it waives immunity for all possible
a “retaliation” claim under either the FHA, the FFHA, or both.         claims (such as those under the FHA or FFHA).
However, it appears that Eleventh Amendment immunity bars
each of these claims.



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To try to save his suit, Plaintiff argues that Ex parte Young      No. 17-4792, 2017 WL 5570333, at *4 (E.D. Pa. Nov. 17,
establishes an exception to a state's Eleventh Amendment           2017) (“[T]he ADA does not provide protection for emotional
immunity. However, Plaintiff asserts no § 1983 claims              therapy dogs as accommodations for disabilities.”).
against state officers related to prospective equitable relief
and continuing violations of federal law. See McClendon v.         *4 It is undisputed that Plaintiff's cat is not a service animal.
Georgia Dept’ of Cmty. Health, 261 F.3d 1252, 1256 (11th           Consequently, any ADA claim fails as a matter of law.
Cir. 2001). Even if he did, Ex parte Young “does not permit        Defendants’ motion to dismiss is granted as to this ground.
suit against state agencies or the state itself, even when the     Because amendment would be futile, Count 3 is dismissed
relief is prospective.” Eubank v. Leslie, 210 F. App'x 837, 844    with prejudice.
(11th Cir. 2006).

Therefore, Defendants enjoy Eleventh Amendment immunity            Count 5
as to all of Plaintiff's housing discrimination and retaliation    The complaint contains a scrivener's error in that it does
claims. Defendants’ motion is granted, and Counts 1, 2, 4, 6,      not include a Count 5, skipping from Count 4 to Count 6.
7, 8, 9, 10, and 13 are dismissed for lack of jurisdiction.        The Court notes this mistake for the purpose of clarity and
                                                                   completeness.

Count 3 – ADA Sec. 36.302 Violation
In Count 3, Plaintiff appears to assert a claim under              Count 11
Americans with Disabilities Act. Specifically, he cites to 28      In Count 11, Plaintiff asserts an “intimidation” claim. This
C.F.R. § 36.402 and claims that Defendants failed to make          is not a recognized cause of action that can be the basis of
“extremely reasonable accommodations” despite numerous             a lawsuit. To the extent that Plaintiff's allegations pertaining
requests that would have allowed Plaintiff to have his             to “intimidation” may support some sort of tortious conduct
emotional support animal in the common area. To the extent         claim, because Florida has not waived immunity for this
that Plaintiff's complaint can be interpreted to include a claim   type of tort claim, the Eleventh Amendment applies. See
under Title II of the ADA, it fails to state a claim as a matter   § 768.28(1), F.S. (waiving immunity for actions to recover
of law.                                                            damages in tort for “injury or loss of property, personal
                                                                   injury, or death caused by the negligent or wrongful act or
“Title II of the Americans with Disabilities Act prohibits         omission of any employee ... while acting within the scope of
public entities (which includes instrumentalities of state and     the employee's office or employment ...”); Terrell v. United
local governments ...) from discriminating against qualified       States, 783 F.2d 1562, 1565 (11th Cir. 1986); Wells, 2021 WL
individuals with disabilities.” Sykes v. Cook Cty. Circuit         883333, at *4 (citing Schopler v. Bliss, 903 F.2d 1373, 1379
Court Prob. Div., 837 F.3d 736, 740 (7th Cir. 2016). The           (11th Cir. 1990)). Consequently, Count 11 is dismissed as an
regulations interpreting Title II make a distinction between       independent cause of action and for lack of subject matter
service animals (for example, “seeing eye” dogs for blind          jurisdiction to the extent it alleges any tort claim.
people) and emotional support animals. The regulations
specifically provide protections for the use of service animals,
                                                                   Count 12
but emotional support animals are excluded from coverage.
                                                                   In Count 12, Plaintiff seeks “to enforce the law” and requests
Maubach v. City of Fairfax, No. 1:17-cv-921, 2018 WL
                                                                   relief under 42 U.S.C. §§ 3613(b)(1), (b)(2), and (c)(1).
2018552, at *6 n.6 (E.D. Va. Apr. 30, 2018); see also 28
                                                                   Enforcement is not an independent cause of action, and this
C.F.R. §§ 36.104; 36.302. Consequently, there is no claim
                                                                   statutory section merely explains how and when to commence
under Title II of the ADA related to the denial of an emotional
                                                                   civil actions for discriminatory housing practices, along with
support animal. See id.; Sykes, 837 F.3d at 740 (“ ‘Emotional
                                                                   the type of relief that may sought. Count 12 is therefore
support animals’ are not considered service animals which
                                                                   dismissed to the extent it asserts an independent cause of
fall under Title II's mandate.”) (quotation omitted); Toma v.
                                                                   action.
38th Dist. Court, No. 18-cv-11066, 2019 WL 1897157, at
*2 (E.D. Mich. Apr. 29, 2019) (dismissing plaintiff's claim
that the defendant failed to reasonably accommodate his            Counts 14, 15, 16, and 17
disability by prohibiting his emotional support dog from
entering courthouse); Baird v. 1600 Church Rd. Condo Ass'n,


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In Counts 14, 15, 16, and 17, Plaintiff asserts breach
                                                                      ORDERED, ADJUDGED, and DECREED:
of contract and related claims. 3 However, Eleventh
Amendment immunity bars Plaintiff's breach of contract                  1. Defendants’ motion to dismiss (Doc. 16) is hereby
claims in federal courts. See Maynard v. Bd. of Regents of                GRANTED.
Div. of Universities of Fla. Dep't of Educ. ex rel. Univ. of S.
Fla., 342 F.3d 1281, 1288 (11th Cir. 2003) (holding breach              2. Counts 1, 2, 4, 6, 7, 8, 9, 10, 11 (in part), 13, 14, 15, 16,
of contract claim in federal court was barred on Eleventh                  and 17 are DISMISSED WITHOUT PREJUDICE,
Amendment immunity grounds); Doe, 2023 WL 5834865, at                      without leave to amend, for lack of jurisdiction on the
*2. Consequently, Counts 14, 15, 16, and 17 are dismissed for              basis of Eleventh Amendment immunity. If Plaintiff
lack of subject matter jurisdiction.                                       wishes to pursue these claims, he may choose to do so
                                                                           in state court to the extent possible, but they may not be
3                                                                          re-filed in this Court.
       The Court categorizes Count 14 (fraudulent
       inducement), Count 15 (breach of implied terms                    *5 3. Count 3 is DISMISSED WITH PREJUDICE for
       of contract including covenant of good faith),                     failure to state a claim.
       and Count 16 (unconscionability) as contractual
       claims, although they do not fit perfectly into                  4. Count 5, 11 (in part), and 12 are DISMISSED as
       that category, because Plaintiff essentially asks the              independent causes of action, without leave to amend.
       Court to find the housing agreement unenforceable
       against him. But even if these are not strictly                  5. The Clerk is directed to terminate any pending motions
       “breach of contract” claims, the Court notes that                   and deadlines, and thereafter close this case.
       the state of Florida continues “to enjoy sovereign
       immunity from quasi-contractual claims such as                 DONE and ORDERED in Chambers, in Tampa, Florida, this
       unjust enrichment” in its own courts. Id. (quoting             11th day of April, 2024.
       Veolia Water N. Am. - S, LLC v. City of Everglades
       City, No. 2:18-cv-785-FTM-99UAM, 2019 WL
                                                                      All Citations
       1921900, at *4 (M.D. Fla. Apr. 30, 2019)).
Accordingly, it is                                                    Slip Copy, 2024 WL 1579797


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